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     1200/18-7152.S/kmc/bja

                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                       INDIANAPOLIS DIVISION

     WILLIAM BARNHOUSE,                               )
                                                      )
                              Plaintiff,              )
                                                      )
                              v.                      ) Cause No.: 1:19-CV-00958-TWP-DLP
                                                      )
     CITY OF MUNCIE, FONDA KING, STEVE                )
     STEWART, GORDON WATTERS, OFFICER                 )
     TODD, STEVE BLEVINS, DONALD                      )
     BAILEY, TERRY WINTERS, CARL                      )
     SOBIERALSKI, AS-YET UNIDENTIFIED                 )
     MUNCIE POLICE OFFICERS, and AS-YET               )
     UNIDENTIFIED EMPLOYEES OF THE                    )
     INDIANA STATE POLICE CRIME LAB,                  )
                                                      )
                              Defendants.

                              NOTICE OF AUTOMATIC INITIAL
                          EXTENSION TO FILE RESPONSIVE PLEADING
           COME NOW, Defendants, CITY OF MUNCIE, FONDA KING, OFFICER TODD,

 STEVE BLEVINS, DONALD BAILEY, and TERRY WINTERS, by and through one of their

 attorneys, KATLYN M. CHRISTMAN (#34670-64) of KNIGHT, HOPPE, KURNIK &

 KNIGHT, LTD., and hereby notify and indicate to the Court that an automatic initial extension of

 time of twenty-eight (28) days is hereby sought to file a responsive pleading to Plaintiff’s

 Complaint.

           The deadlines for each Defendant to respond have not been previously extended. These

 extensions of time are for twenty-eight (28) days with respect to each deadline. These extensions

 do not interfere with the Case Management Plan, scheduled hearings, or other case deadlines.

 Based on information and belief, the original responsive pleading deadlines are as follows:




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